Case 1:04-cr-00561-DGT   Document 46   Filed 06/20/05   Page 1 of 6 PageID #: 56




                                           s/David G. Trager
Case 1:04-cr-00561-DGT   Document 46   Filed 06/20/05   Page 2 of 6 PageID #: 57
Case 1:04-cr-00561-DGT   Document 46   Filed 06/20/05   Page 3 of 6 PageID #: 58
Case 1:04-cr-00561-DGT   Document 46   Filed 06/20/05   Page 4 of 6 PageID #: 59
Case 1:04-cr-00561-DGT   Document 46   Filed 06/20/05   Page 5 of 6 PageID #: 60
Case 1:04-cr-00561-DGT   Document 46   Filed 06/20/05   Page 6 of 6 PageID #: 61
